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                      UNITED STATES OF AMERICA
                     SOUTHERN DISTRICT OF TEXAS
                       CORPUS CHRISTI DIVISION
             M.D., et al                                                 NOTICE OF SETTING


                    V.

           ABBOTT, et al                                                         CA-C-11-84




                  YOU ARE HEREBY DIRECTED TO APPEAR BEFORE:

                              JUDGE JANIS GRAHAM JACK

                                  United States District Court
                                 Earle Cabell Federal Building
                                      1100 Commerce St.
                                       Courtroom 1351
                                      Dallas, Texas 75242


                                        for a Status Conference

                  On FRIDAY, JANUARY 27, 2023 at 9:00 A.M. CST

 This is an in-person hearing. For parties who wish to appear via Zoom, the following link
 is provided:
 https://www.zoomgov.com/j/1619575180?pwd=dmNVTWNQbGdpSEJUcW0vOEx1TzJ2QT09
 Meeting ID: 161 957 5180. Passcode: 629816.




NOTE: Persons with remote access to hearings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may result in sanctions, including
removal of court issued media credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the court.
